Maureen Gaughan
PO Box 6729
Chandler, AZ 85246-6729
(480) 899-2036
                  IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF ARIZONA

In re:                                    )            Chapter 7
                                          )
NACINOVICH, DANIEL                        )            Case No. 10-21041-PHX
                                          )
                                          )            TRUSTEE'S WITHDRAWAL OF
                                          )            REPORT OF NO DISTRIBUTION
                                          )            AND MOTION TO REOPEN CASE
      Debtor(s)                           )
__________________________________________)


                Maureen Gaughan, Trustee of the above-captioned estate, has previously filed a

Report of No Distribution. The Trustee has learned that there are now assets to be administered.

The Trustee hereby withdraws the Report of No Distribution, and moves to reopen this case so

that these assets may be administered.

                The reopening fee shall be paid by the Trustee from the Estate as there are

sufficient estate funds.



June 18, 2019                               _/S/__ Maureen Gaughan________
         Date                               Maureen Gaughan, Trustee




Case 2:10-bk-21041-BKM         Doc 22 Filed 06/18/19 Entered 06/18/19 16:35:48             Desc
                                Main Document    Page 1 of 1
